
The Court,
(Duckett, J., contra,)
refused to instruct the jury that the bond produced on oyer was not the bond of J. &amp; D. Douglas, because they supposed the question not material to the issue. The averment in the plea was, in substance, that the bond in the declaration mentioned was executed in pursuance of the corrupt agreement, and the description of the bond, calling it the bond of J. &amp; D. Douglas, was not necessary to be proved, the proof being that the bond in the declaration mentioned was given in execution of the corrupt agreement.
The allegation in the plea was, that the corrupt agreement was made on the day of November, and the evidence was, that the terms of the agreement were concluded in September.
The Court (nem. con.) said the variance was not material.
